 Case 2:12-cr-20066-KHV           Document 1945         Filed 05/23/16       Page 1 of 12




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
               Plaintiff,            )                   CRIMINAL ACTION
v.                                   )
                                     )                   No. 12-20066-32-KHV
JUVON SMITH,                         )
                                     )
               Defendant.            )
_____________________________________)

                                  MEMORANDUM AND ORDER

       On March 19, 2014, the Court sentenced defendant to 180 months in prison. This matter is

before the Court on defendant’s letter (Doc. #1939) filed April 14, 2016, which the Court construes as

a motion to reduce sentence under Amendment 782 to the United States Sentencing Guidelines

(“U.S.S.G.”) and 18 U.S.C. § 3582(c)(2). For reasons stated below, the Court overrules defendant’s

motion.

       A federal district court may modify a defendant’s sentence only where Congress has expressly

authorized it to do so. See 18 U.S.C. § 3582(c); United States v. Blackwell, 81 F.3d 945, 947 (10th Cir.

1996). Defendant seeks relief under Section 3582(c)(2), which permits the Court to reduce a sentence

if defendant has been sentenced to a term of imprisonment “based on a sentencing range that has

subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C.

§ 3582(c). If eligible, the Court may reduce defendant’s term of imprisonment after considering any

applicable factors set forth in Section 3553(a), “if such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c); see Dillon v. United States,

560 U.S. 817, 826-27 (2010); United States v. Green, –– F. App’x ––, 2015 WL 5316506, at *3 (10th

Cir. Sept. 14, 2015).

       Defendant seeks relief under Amendment 782, which lowered the base offense levels in the
 Case 2:12-cr-20066-KHV          Document 1945         Filed 05/23/16     Page 2 of 12




Drug Quantity Table at U.S.S.G. § 2D1.1. At sentencing, in anticipation that Amendment 782 would

become effective November 1, 2014, the parties jointly recommended that the Court reduce defendant’s

offense level by two levels. See Post-Conviction Agreement (Doc. #1417). The Court granted the

parties’ request. By doing so, defendant received a two level decrease in his total offense level.1

Accordingly, he is not entitled to further relief under Amendment 782.

       Liberally construed, defendant’s motion asserts that he is entitled to relief because under the

Sentencing Commission policy statement in U.S.S.G. § 1B1.10(c), the statutory minimum restricted

his original guideline range but not his amended guideline range. The Court assumes that defendant

is eligible for relief under Amendment 782, but declines to reduce his sentence.2


       1
               Defendant had a total offense level of 29 with a criminal history category V for a
guideline range of 140 to 175 months. See Presentence Investigation Report (Doc. #1225) filed
January 14, 2014, ¶ 146. Under Section 5G1.1 of the Sentencing Guidelines, the statutory minimum
of 20 years trumped defendant’s calculated guideline range under 21 U.S.C. § 841(b)(1)(A). See
Presentence Investigation Report (Doc. #1225) ¶¶ 145-46; U.S.S.G. § 5G1.1. At sentencing on
March 19, 2014, in light of his assistance to authorities, the Court granted the government request to
reduce defendant’s sentence by 25 percent (60 months) under 18 U.S.C. § 3553(e). The Court
sentenced defendant to 180 months in prison.
       2
                As explained in several recent opinions, the Court questions whether Congress has
delegated authority to the Sentencing Commission to create an additional exception to statutory
minimum sentences by way of a retroactive amendment to the Guidelines and if Congress has done so,
whether that delegation of power is lawful. See United States v. Kelley, No. 10-20076-06-KHV, 2016
WL 408917 (D. Kan. Feb. 3, 2016); United States v. Carrington, No. CR 10-20076-09-KHV, 2016 WL
248363 (D. Kan. Jan. 21, 2016); United States v. Julius Smith, No. 12-20066-31-KHV, 2015 WL
8492029 (D. Kan. Dec. 9, 2015); see also United States v. Feauto, No. CR-12-3046, 2015 WL 7429591,
at *5-13 (N.D. Iowa Nov. 23, 2015). Even though the Court must treat the Sentencing Commission
policy statement in Section 1B1.10 as mandatory, Dillon, 560 U.S. at 827, the Sentencing Commission
has no authority to reduce a minimum sentence mandated by statute. See United States v. Moody, 526
F. App’x 576, 579 (6th Cir. 2013); United States v. Hood, 556 F.3d 226, 233-34 (4th Cir. 2009); United
States v. Ganun, 547 F.3d 46, 47 (1st Cir. 2008). “While the Sentencing Commission has the authority
to overrule circuit precedent interpreting Guidelines provisions, it cannot overrule circuit precedent
interpreting a statutory provision.” United States v. Williams, 808 F.3d 253, 266 (4th Cir. Dec. 14,
2015) (dissent, C.J. Traxler) (emphasis in original), rehr’g en banc denied, Order, No. 15-7114, Doc.
                                                                                         (continued...)

                                                 -2-
 Case 2:12-cr-20066-KHV          Document 1945          Filed 05/23/16     Page 3 of 12




       In determining whether a sentence reduction is warranted and the extent of any reduction, the

Court considers the factors set forth in 18 U.S.C. § 3553(a). See U.S.S.G. § 1B1.10. In particular,

among other factors, the Court must consider the nature, seriousness and circumstances of the offense,

defendant’s history and characteristics, the need to protect the public from further crimes by defendant

and any threat to public safety. United States v. Meridyth, 573 F. App’x 791, 794 (10th Cir. 2014);

United States v. Osborn, 679 F.3d 1193, 1195-96 (10th Cir. 2012). While not mandatory, the Court

may also consider defendant’s post-sentencing conduct. Osborn, 679 F.3d at 1195; see Meridyth, 573

F. App’x at 794; U.S.S.G. § 1B1.10 cmt. n.1(B). Before addressing the specific sentencing factors, the

Court addresses several broader implications of a reduced sentence in this case which necessarily

impact the sentencing factors.

I.     Section 3553(e) Authorizes Relief From Statutory Minimum For The Limited Purpose To
       Reward Cooperation

       As noted, the Court may modify defendant’s sentence only where Congress has expressly

authorized it to do so. See 18 U.S.C. § 3582(c); Blackwell, 81 F.3d at 947. Courts likewise may

sentence defendant to a term of imprisonment below the statutory minimum only where Congress has



       2
         (...continued)
No. 46 (4th Cir. Jan. 5, 2016). Section 3582(c)(2) does not explicitly authorize the Commission to
expand the statutory exception of Section 3553(e) that reductions below the statutory minimum be
made only “so as to reflect a defendant’s substantial assistance in the investigation or prosecution of
another person who has committed an offense.” 18 U.S.C. § 3553(e).
        The Court’s comments at sentencing in this case illustrate why Amendment 782 should not
provide further relief to cooperators who receive a sentence below the statutory minimum under
Section 3553(e). At sentencing, the Court noted that the two-level reduction in anticipation of
Amendment 782 had no impact on defendant’s sentence because he was subject to a statutory minimum
term of 240 months in prison. Because the two-level decrease did not give the Court authority at
sentencing to reduce defendant’s sentence under established law, Congress likely did not intend to give
the Sentencing Commission authority to allow the same two-level decrease to accomplish a different
result on a Section 3582(c) motion.

                                                  -3-
 Case 2:12-cr-20066-KHV          Document 1945          Filed 05/23/16    Page 4 of 12




set forth a specific statutory exception. See Hood, 556 F.3d at 233-34 (only Congress can authorize

departure from statutory minimum sentence); United States v. Campbell, 995 F.2d 173, 175 (10th Cir.

1993) (when sentence fixed by statute, any exception to statutory directive must also be given by

statute). One statutory exception to the mandatory minimum allows a court to impose a sentence below

a level which a statute establishes as a minimum sentence “to reflect a defendant’s substantial

assistance in the investigation or prosecution of another person who has committed an offense.” 18

U.S.C. § 3553(e). As noted above, the Court sentenced defendant under this exception.

       This exception authorizes a court to sentence defendant below the statutory minimum, but it

does not necessarily permit the Court to sentence within or below any guideline range that would

otherwise apply. See Hood, 556 F.3d at 233-35 (Section 3553(e) authorizes exception from statutory

minimum sentence for limited purpose of substantial assistance in investigation or prosecution of

others; neither Section 3553(e) nor guidelines provide sentencing range for such departures); United

States v. Pillow, 191 F.3d 403, 407 (4th Cir. 1999) (Section 3553(e) motion does not restore otherwise

applicable guideline range that would have applied absent statutory minimum; statute allows for

departure from – not removal of – statutorily required minimum sentence).

       Section 3553(e) does not permit the Court to further reduce defendant’s sentence based on

factors other than substantial assistance. United States v. A.B., 529 F.3d 1275, 1285 (10th Cir. 2008);

Campbell, 995 F.2d at 175. In other words, after a district court reduces a sentence below a statutory

minimum under Section 3553(e), it cannot reduce the sentence further based on the general sentencing

factors in Section 3553(a). See United States v. Mendoza-Haro, 595 F. App’x 829, 833-34 (10th Cir.

2014). The Tenth Circuit has noted as follows:

       [Defendant] argues that a portion of § 3553(e)’s second textual sentence which specifies
       that the criminal sentence “shall be imposed in accordance with the guidelines” should

                                                  -4-
 Case 2:12-cr-20066-KHV           Document 1945          Filed 05/23/16      Page 5 of 12




       have been judicially excised after Booker. See Aplt. Op. Br. at 13. The effect,
       [defendant] reasons, would have been to permit the district court to operate under an
       advisory Guidelines system. And, in so doing, the district court would have been
       obliged to consider - in addition to defendant’s substantial assistance - § 3553(a) factors
       in imposing a sentence below the statutory minimum. Id. at 13-14.10.

       In [United States v.] Yazzie, [407 F.3d 1139 (10th Cir. 2005),] we noted that
       “[s]ection 3553(b)(2) contains the same ‘shall impose’ language that made application
       of the Guidelines mandatory under § 3553(b)(1).” 407 F.3d at 1145. In Booker, the
       Court cured the mandatory Guidelines problem in part by excising § 3553(b)(1) from
       the Sentencing Reform Act. As a result, the Guidelines were rendered advisory and,
       thus, constitutional. Id. Accordingly, we reasoned that Booker also required us to
       excise § 3553(b)(2). Id. In sum, we stated: “Therefore, we hold that treating the
       Guidelines as mandatory - regardless of whether the defendant is sentenced under
       § 3553(b)(1) or § 3553(b)(2) - is error.” Id. at 1146.

       The Williams analysis, however, suggests the fatal flaw in [defendant’s] argument:
       Yazzie pertains to the constitutionality of restrictions on the district court’s discretion
       to sentence under the Guidelines; it does not speak to the constitutionality of statutory
       limitations on the district court’s authority to sentence below statutory mandatory
       minimums. See Williams, 474 F.3d at 1132 (noting that “while the [Booker] Court
       excised §§ 3553(b)(1) and 3742(e) from the Code, § 3553(e) was unmentioned”). And,
       because it does not speak to the constitutionality of such limitations, Yazzie, like the
       Booker decision on which it relies, “does not impact the pre-existing limitations
       embodied in § 3553(e).” Id.

A.B., 529 F.3d at 1282-83.

       In sum, relief from the statutory minimum under Section 3553(e) is limited “so as to reflect a

defendant’s substantial assistance in the investigation or prosecution of another person who has

committed an offense.” 18 U.S.C. § 3553(e). If the Court grants cooperators further relief under

Section 3582(c)(2), it would be expanding the statutory exception in Section 3553(e) to include a

further variance unrelated to defendant’s cooperation. While the Sentencing Commission has

authorized this additional variance, the Court believes that it should be granted sparingly in light of the

other sentencing factors under Section 3553(a).




                                                   -5-
 Case 2:12-cr-20066-KHV          Document 1945         Filed 05/23/16      Page 6 of 12




II.    The Safety Valve Exception To Statutory Minimum Sentences Illustrates Why
       Cooperators Such As Defendant Should Not Receive Relief Under Amendment 782

       In the case of certain controlled substance offenses, under certain conditions, the so-called

“safety valve” allows a court to impose a sentence pursuant to a guideline range without regard to any

statutory minimum sentence. 18 U.S.C. § 3553(f); see also U.S.S.G. § 5C1.2. In particular, the Court

must find that the following five conditions have been met:

       (1) the defendant does not have more than 1 criminal history point, as determined under
       the sentencing guidelines;

       (2) the defendant did not use violence or credible threats of violence or possess a
       firearm or other dangerous weapon (or induce another participant to do so) in
       connection with the offense;

       (3) the offense did not result in death or serious bodily injury to any person;

       (4) the defendant was not an organizer, leader, manager, or supervisor of others in the
       offense, as determined under the sentencing guidelines and was not engaged in a
       continuing criminal enterprise, as defined in section 408 of the Controlled Substances
       Act; and

       (5) not later than the time of the sentencing hearing, the defendant has truthfully
       provided to the Government all information and evidence the defendant has concerning
       the offense or offenses that were part of the same course of conduct or of a common
       scheme or plan, but the fact that the defendant has no relevant or useful other
       information to provide or that the Government is already aware of the information shall
       not preclude a determination by the court that the defendant has complied with this
       requirement.

18 U.S.C. § 3553(f).

       The safety valve, Section 3553(f), and the substantial assistance provision, Section 3553(e),

provide two methods for the Court to sentence below a statutory minimum. These two methods,

however, provide very different means to do so. United States v. Altamirano-Quintero, 511 F.3d 1087,

1090 n.6 (10th Cir. 2007). Congress had different plans in mind for the operation and effect of the two

provisions. United States v. Ahlers, 305 F.3d 54, 59 (1st Cir. 2002); see id. at 58 (conclusion

                                                 -6-
 Case 2:12-cr-20066-KHV           Document 1945          Filed 05/23/16      Page 7 of 12




inescapable that two sections differ radically and that difference cannot be dismissed as mere fortuity).

       The Tenth Circuit has highlighted the differences in Sections 3553(f) and 3553(e) as follows:

       [Section] 3553(f) requires the district court to disregard the mandatory minimum
       sentence when certain conditions are met. [Ahlers, 305 F.3d] at 59. The statute
       “demonstrates Congress’s ability to deploy unambiguous statutory language when it
       intends to authorize sentencing judges to ignore the limitations imposed by statutory
       minimum sentences and treat a ‘mandatory minimum’ case like any other.” Id.
       (emphasis added). In contrast, § 3553(e) “speaks in much more circumspect terms.”
       Id. It “retains the mandatory minimum as a reference point for a specific, carefully
       circumscribed type of departure.” Id. Section 3553(e) “opens the door for a departure
       below the otherwise applicable mandatory minimum - but only those reasons related to
       the nature and extent of the defendant’s substantial assistance can figure into the
       ensuing sentencing calculus.” Id. at 60. In other words, unlike under § 3553(f), upon
       granting a § 3553(e) downward departure, a district court is not at liberty to treat the
       case “like any other,” but rather must focus only on substantial assistance
       considerations. As with the defendants in Ahlers, A.B. offers “no explanation” for why
       statutes that evince the kind of significant differences exhibited by § 3553(f) and
       § 3553(e) “should be deemed to march in lockstep.” Id. at 59. And we discern no such
       explanation.

A.B., 529 F.3d at 1284; see United States v. Jackson, 493 F.3d 1179, 1180 (10th Cir. 2007) (certain

individuals with comparatively clean records may be eligible for reduction in § 3553(f) and escape

normal operation of statutory minimum); Ahlers, 305 F.3d at 59 (Congress enacted safety valve to

mitigate harsh effects of mandatory minimum sentences on certain first-time offenders who played

relatively minor roles in drug trafficking schemes).

       By sentencing cooperators within the amended guideline ranges without regard to the statutory

minimum and the trumping provision of U.S.S.G. § 5G1.1, defendants essentially receive a benefit

similar to what they would receive if they were safety valve eligible. In other words, cooperators would

receive amended sentences without regard to any statutory minimum.3 In light of the basic differences


       3
                The Court recognizes that in most circumstances, the Guidelines require a decrease of
two levels off the base offense level if defendant qualifies for safety valve relief. See U.S.S.G. § 5C1.2
                                                                                             (continued...)

                                                   -7-
 Case 2:12-cr-20066-KHV          Document 1945         Filed 05/23/16     Page 8 of 12




between the safety valve provision of Section 3553(f) and the substantial assistance provision of

Section 3553(e), the Court questions whether Congress intended that cooperators who initially received

relief from the statutory minimum under Section 3553(e) should receive a reduced sentence under

Section 3582(c)(2) without regard to the statutory minimum. As explained above, the Sentencing

Commission has authorized such relief. Even so, the Court, in considering whether to grant such relief,

must be mindful of the statutory differences of Section 3553(f) and Section 3553(e).

III.   A Reduced Sentence Within Or Below Amended Range Would Significantly Inflate The
       Judicial Determination Of Extent Of Defendant’s Cooperation

       To illustrate why cooperators who received relief from the statutory minimum based on

Section 3553(e) should not receive further relief from the statutory minimum under Amendment 782,

the Court briefly examines cases which involve a statutory minimum where the district court granted

further relief under Amendment 782. The following chart shows that a reduction in such cases leads

to an exaggerated evaluation of defendant’s cooperation:4




       3
         (...continued)
(offense level of defendant eligible for safety valve relief and otherwise subject to statutory minimum
of five years may not be reduced below 17). Here, of course, defendant does not receive this additional
benefit.
       4
               United States v. Jackson, No. 3:13-cr-45-TAV-CCS-34, 2016 WL 1627625, at *4 (E.D.
Tenn. Apr. 22, 2016); United States v. Morris, No. 3:07CR261-MHT, 2015 WL 7756138, at *3 (M.D.
Ala. Dec. 2, 2015); United States v. Bullard, No. 3:01-cr-107, 2015 WL 5943202, at *1-2 (E.D. Tenn.
Oct. 13, 2015); United States v. Brickner, No. 2:12-cr-019, 2015 WL 5513407, at *2-3 (E.D. Tenn.
Sept. 16, 2015); United States v. Jerrell, No. 3:13-cr-45, 2015 WL 4476434, at *1-5 (E.D. Tenn.
July 22, 2015); United States v. Guzman, No. 3:06-CR-91-TAV-HBG-1, 2015 WL 3866203, at *3
(E.D. Tenn. June 22, 2015); United States v. Turman, No. 3:05-CR-92-TAV-HBG-1, 2015 WL
2169258, at *2 (E.D. Tenn. May 8, 2015); United States v. Harshaw, No. 3:06-cr-127, 2015 WL
756757, at *1-2 (E.D. Tenn. Feb. 23, 2015).

                                                 -8-
 Case 2:12-cr-20066-KHV                Document 1945             Filed 05/23/16     Page 9 of 12




                 Statutory   Original         Original %             Amended        Amended        Amended %
                 Min.        Sentence after   Reduction              Range (w/o     Sentence       Reduction
                 (months)    Sec. 3553(e)     From Stat.             reference to   (months)       From Stat.
                             (months)         Minimum                stat. min.)                   Minimum

 Jackson         120         90               25%                    41-51          31             74.2%


 Morris          120         78               35%                    87-108         41             65.8%


 Bullard         240         180              25%                    78-97          59             75.4%

 Brickner        240         151              37%                    70-87          87             63.8%

 Jerrell         240         180              25%                    78-97          59             75.4%

 Guzman          240         144              40%                    78-97          47             80.4%

 Turman          240         192              20%                    100-125        80             66.7%

 Harshaw         240         144              40%                    70-87          42*            82.5%
                                                                                    Time Served


In the above cases, defendants received a total reduction of approximately two to three times more than

the original reduction below the statutory minimum. By applying Section 1B1.10(c) to disregard the

statutory minimum in calculating defendant’s eligibility for relief and re-sentencing defendants based

on the amended guideline range, courts have effectively allowed an additional variance from the

statutory minimum based on factors other than defendant’s cooperation. As explained above,

Section 3553(e) prohibits courts from granting additional variances using Section 3553(a) factors to

further reduce defendants’ sentences below the statutory minimum.

           By applying Section 1B1.10(c) to sentence defendant within or below the otherwise applicable

range (reduced by two levels) and unrestricted by Section 3553(e), the Court essentially would be

granting cooperators who were sentenced before Amendment 782 much lower sentences than

cooperators who are sentenced under the current Guidelines. The Eleventh Circuit has explained the

purpose of retroactive guideline amendments as follows:

           The purpose of § 3582(c)(2) is to give a defendant the benefit of a retroactively
           applicable amendment to the guidelines. That provision gives the defendant an


                                                           -9-
Case 2:12-cr-20066-KHV           Document 1945           Filed 05/23/16     Page 10 of 12




       opportunity to receive the same sentence he would have received if the guidelines that
       applied at the time of his sentencing had been the same as the guidelines that applied
       after the amendment. But he is not to receive a lower sentence than he would have
       received if the amendment had been in effect at the time of his sentencing. The goal is
       to treat a defendant sentenced before the amendment the same as those sentenced after
       the amendment. That is why an amendment that alters the initial calculation of a
       guidelines range is not to be applied in a case where the difference in the initial
       calculation would have made no difference because a mandatory minimum would have
       trumped the initial calculation and dictated the final guidelines range anyway.

United States v. Glover, 686 F.3d 1203, 1206 (11th Cir. 2012) (emphasis added). Defendants who are

sentenced after Amendment 782 are subject to the restriction under Section 3553(e) that a court may

sentence defendant to a term below a mandatory minimum only to reflect the extent of defendant’s

cooperation. To allow defendants sentenced before Amendment 782 to receive a reduction beyond that

authorized in the current version of Section 3553(e) and the Guidelines would create a significant

disparity based on when a particular defendant was sentenced. As explained above, retroactive

Guideline amendments are intended to give defendants the same – not more favorable – treatment as

those sentenced under the current Guidelines.5


       5
               In a recent opinion, the Fourth Circuit suggested that granting relief in cases such as the
instant one would help eliminate unwarranted sentencing disparity between cooperators. United States
v. Williams, 808 F.3d 253, 260 (4th Cir. Dec. 14, 2015), rehr’g en banc denied, Order, No. 15-7114,
Docket No. 46 (4th Cir. Jan. 5, 2016). The Fourth Circuit stated as follows:

       Our approval of the position espoused by the United States Attorney and Williams is
       also consistent with the Sentencing Reform Act’s focus on “the elimination of
       unwarranted sentencing disparity.” See Goines, 357 F.3d at 475-76. A contrary ruling
       would permit cooperating defendants with Guidelines ranges above their statutory
       minimums “perhaps due to extensive criminal histories or severe offense conduct” to
       nevertheless secure sentencing relief under § 3582(c)(2). On the other hand,
       cooperating defendants such as Williams, whose Guidelines ranges are entirely below
       their statutory minimums, would be denied relief. Such a disparity should not occur
       within the category of defendants who should benefit from Amendment 780: those “who
       provide substantial assistance to the government in the investigation and prosecution of
       others.” See USSG app. C, amend. 780 (Supp. 2014). Moreover, Amendment 780
       makes no distinction among such defendants, and we lack the authority to create one.
       See United States v. Maroquin-Bran, 587 F.3d 214, 217 (4th Cir. 2009) (recognizing
                                                                                         (continued...)

                                                  -10-
Case 2:12-cr-20066-KHV           Document 1945          Filed 05/23/16    Page 11 of 12




IV.    Balancing Of Section 3553(a) Factors

       As noted, defendant originally had a total offense level of 29 with a criminal history category V

for a guideline range of 140 to 175 months, trumped by the statutory minimum of 240 months. See

Presentence Investigation Report (Doc. #1225) ¶¶ 145-46. Under Amendment 782, defendant’s

amended guideline range is 140 to 175 months (offense level 29, criminal history V). The Court

declines to reduce defendant’s sentence in light of the factors under Section 3553(a).

       The Court gives significant weight to the seriousness of the offense which carries a statutory

minimum sentence of 240 months in prison and the extent of defendant’s cooperation, which the

government estimated and the Court agreed warranted a reduction of 60 months from the statutory

minimum. The Court also gives significant weight to “the need to avoid unwarranted sentence

disparities among defendants with similar records who have been found guilty of similar conduct.” 18

U.S.C. § 3553(a). In particular, unlike the policy statement applicable to retroactive amendments, the

current version of the Guidelines provides no waiver of the trumping rules of Sections 5G1.1 and

5G1.2. Accordingly, defendants sentenced under the current Guidelines with the same drug quantity

as this defendant and the same extent of cooperation as this defendant would receive a sentence of

180 months in prison (60 months less than the statutory minimum). In light of the factors set forth in

Section 3553(a) and the reasons set forth above and at the original sentencing on March 19, 2014, the

Court finds that a sentence of 180 months in prison is sufficient but not greater than necessary to meet


       5
        (...continued)
       that “rewriting [the Guidelines] is beyond our purview as a court and remains the
       domain of either the Sentencing Commission or the Congress”).

Williams, 808 F.3d at 261-62. It is true that the group of cooperators with guideline ranges well above
the statutory minimum potentially could receive greater relief under Amendment 782 than cooperators
with guideline ranges below the statutory minimum, but Congress created such disparity in imposing
statutory minimums subject to only limited statutory exceptions including Sections 3553(e) and
3553(f).

                                                 -11-
Case 2:12-cr-20066-KHV        Document 1945          Filed 05/23/16     Page 12 of 12




the sentencing factors set forth in Section 3553(a). Accordingly, the Court declines to reduce

defendant’s sentence.

       IT IS THEREFORE ORDERED that defendant’s letter (Doc. #1939) filed April 14, 2016,

which the Court construes as a motion to reduce sentence under 18 U.S.C. § 3582(c)(2), is

OVERRULED.

       Dated this 23rd day of May, 2016 at Kansas City, Kansas.

                                                     s/ Kathryn H. Vratil
                                                     KATHRYN H. VRATIL
                                                     United States District Judge




                                              -12-
